           Case 5:04-cv-02951-JW Document 23 Filed 10/25/04 Page 1 of 8




 1   FREDERICK G. SOLEY
     City Attorney, SBN 100270
 2   ALESIA JONES-MARTIN
     Assistant City Attorney, SBN 154420
 3   CITY OF VALLEJO, City Hall
     555 Santa Clara Street, Third F loor
 4   P. O. Box 3068
     Vallejo, CA 94590
 5   (707) 648-4545 FAX: (707) 648-4687
 6   Attorney for Defendant, KENT TRIBBLE
 7
 8                              UN ITED STATES DISTRICT C OURT
 9                 NORTHE RN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
10
11    AL BERTA ROSE JON ES,                     )     Case No. C04 02951 JW EAI
12                                              )
                           Plaintiff,           )     ANSWER OF KENT TRIBBLE
13                                              )
              v.                                )
14                                              )
                                                )
15    PATRIC IA C OL EMAN , et al. ,            )
                                                )
16                         Defendant.           )
                                                )
17                                              )

18           Defendant Kent Tribble answers the Plaintiff’s Complaint for Damages as follows:
19           I.     JURISDICTION
20           1. Answering the first paragraph of the Complaint, the Defendant is without sufficient
21   knowledge or information to form a belief as to the truth of and on that basis denies the
22   allegations contained therein.
23           2.    Answering the second paragraph of the Complaint, the Defendant is without
24   sufficient knowledge or information to form a belief as to the truth of and on that basis denies
25   the allegations contained therein.
26   ///
27   ///
28

     C04 02951 JW EAI                               -1-                     ANSWER OF KENT TRIBBLE
         Case 5:04-cv-02951-JW Document 23 Filed 10/25/04 Page 2 of 8




 1           II.     PARTIES
 2           1. Answering the first paragraph of the Complaint, the Defendant is without sufficient
 3   knowledge or information to form a belief as to the truth of and on that basis denies the
 4   allegations contained therein.
 5           2.     Answering the second paragraph of the Complaint, the Defendant is without
 6   sufficient knowledge or information to form a belief as to the truth of and on that basis denies
 7   the allegations contained therein.
 8           III.    STATEMENT OF FACTS
 9           1. Answering the first paragraph of the Complaint, the Defendant is without sufficient
10   knowledge or information to form a belief as to the truth of and on that basis denies the
11   allegations contained therein.
12           2.     Answering the second paragraph of the Complaint, the Defendant is without
13   sufficient knowledge or information to form a belief as to the truth of and on that basis denies
14   the allegations contained therein.
15           3. Answering the third paragraph of the Complaint, the Defendant is without sufficient
16   knowledge or information to form a belief as to the truth of and on that basis denies the
17   allegations contained therein.
18           4. Answering the fourth paragraph of the Complaint, the Defendant is without sufficient
19   knowledge or information to form a belief as to the truth of and on that basis denies the
20   allegations contained therein.
21           5. Answering the fifth paragraph of the Complaint, the Defendant is without sufficient
22   knowledge or information to form a belief as to the truth of and on that basis denies the
23   allegations contained therein.
24           6. Answering the sixth paragraph of the Complaint, the Defendant is without sufficient
25   knowledge or information to form a belief as to the truth of and on that basis denies the
26   allegations contained therein.
27
28

     C04 02951 JW EAI                              -2-                      ANSWER OF KENT TRIBBLE
         Case 5:04-cv-02951-JW Document 23 Filed 10/25/04 Page 3 of 8




 1           7.   Answering the seventh paragraph of the Complaint, the Defendant is without
 2   sufficient knowledge or information to form a belief as to the truth of and on that basis denies
 3   the allegations contained therein.
 4           8. Answering the eighth paragraph of the Complaint, the Defendant is without sufficient
 5   knowledge or information to form a belief as to the truth of and on that basis denies the
 6   allegations contained therein.
 7           9. Answering the ninth paragraph of the Complaint, the Defendant is without sufficient
 8   knowledge or information to form a belief as to the truth of and on that basis denies the
 9   allegations contained therein.
10           10. Answering the tenth paragraph of the Complaint, the Defendant is without sufficient
11   knowledge or information to form a belief as to the truth of and on that basis denies the
12   allegations contained therein.
13           11. Answering the eleventh paragraph of the Complaint, the Defendant is without
14   sufficient knowledge or information to form a belief as to the truth of and on that basis denies
15   the allegations contained therein.
16           12. Answering the twelfth paragraph of the Complaint, the Defendant is without
17   sufficient knowledge or information to form a belief as to the truth of and on that basis denies
18   the allegations contained therein.
19           13. Answering the thirteenth paragraph of the Complaint, the Defendant is without
20   sufficient knowledge or information to form a belief as to the truth of and on that basis denies
21   the allegations contained therein.
22           14. Answering the fourteenth paragraph of the Complaint, the Defendant is without
23   sufficient knowledge or information to form a belief as to the truth of and on that basis denies
24   the allegations contained therein.
25           15. Answering the fifteenth paragraph of the Complaint, the Defendant is without
26   sufficient knowledge or information to form a belief as to the truth of and on that basis denies
27   the allegations contained therein.
28

     C04 02951 JW EAI                              -3-                      ANSWER OF KENT TRIBBLE
         Case 5:04-cv-02951-JW Document 23 Filed 10/25/04 Page 4 of 8




 1           16. Answering the sixteenth paragraph of the Complaint, the Defendant is without
 2   sufficient knowledge or information to form a belief as to the truth of and on that basis denies
 3   the allegations contained therein.
 4           17. Answering the seventeenth paragraph of the Complaint, the Defendant is without
 5   sufficient knowledge or information to form a belief as to the truth of and on that basis denies
 6   the allegations contained therein.
 7           18. Answering the eighteenth paragraph of the Complaint, the Defendant is without
 8   sufficient knowledge or information to form a belief as to the truth of and on that basis denies
 9   the allegations contained therein.
10           19. Answering the nineteenth paragraph of the Complaint, the Defendant is without
11   sufficient knowledge or information to form a belief as to the truth of and on that basis denies
12   the allegations contained therein.
13           20. Answering the twentieth paragraph of the Complaint, the Defendant is without
14   sufficient knowledge or information to form a belief as to the truth of and on that basis denies
15   the allegations contained therein.
16           21. Answering the twenty-first paragraph of the Complaint, the Defendant is without
17   sufficient knowledge or information to form a belief as to the truth of and on that basis denies
18   the allegations contained therein.
19           22. Answering the twenty-second paragraph of the Complaint, the Defendant is without
20   sufficient knowledge or information to form a belief as to the truth of and on that basis denies
21   the allegations contained therein.
22           23. Answering the twenty-third paragraph of the Complaint, the Defendant is without
23   sufficient knowledge or information to form a belief as to the truth of and on that basis denies
24   the allegations contained therein.
25           24. Answering the twenty-fourth paragraph of the Complaint, the Defendant is without
26   sufficient knowledge or information to form a belief as to the truth of and on that basis denies
27   the allegations contained therein.
28

     C04 02951 JW EAI                              -4-                      ANSWER OF KENT TRIBBLE
         Case 5:04-cv-02951-JW Document 23 Filed 10/25/04 Page 5 of 8




 1           25. Answering the twenty-first paragraph of the Complaint, the Defendant is without
 2   sufficient knowledge or information to form a belief as to the truth of and on that basis denies
 3   the allegations contained therein.
 4           26. Answering the twenty-sixth paragraph of the Complaint, the Defendant is without
 5   sufficient knowledge or information to form a belief as to the truth of and on that basis denies
 6   the allegations contained therein.
 7           27. Answering the twenty-seventh paragraph of the Complaint, the Defendant is without
 8   sufficient knowledge or information to form a belief as to the truth of and on that basis denies
 9   the allegations contained therein.
10           28. Answering the twenty-eighth paragraph of the Complaint, the Defendant is without
11   sufficient knowledge or information to form a belief as to the truth of and on that basis denies
12   the allegations contained therein.
13           29. Answering the twenty-ninth paragraph of the Complaint,the Defendant is without
14   sufficient knowledge or information to form a belief as to the truth of and on that basis denies
15   the allegations contained therein.
16           30. Answering the thirtieth paragraph of the Complaint, the Defendant is without
17   sufficient knowledge or information to form a belief as to the truth of and on that basis denies
18   the allegations contained therein.
19           31. Answering the thirty-first paragraph of the Complaint, the Defendant is without
20   sufficient knowledge or information to form a belief as to the truth of and on that basis denies
21   the allegations contained therein.
22           32. Answering the thirty-second paragraph of the Complaint, the Defendant is without
23   sufficient knowledge or information to form a belief as to the truth of and on that basis denies
24   the allegations contained therein.
25           33. Answering the thirty-third paragraph of the Complaint, the Defendant is without
26   sufficient knowledge or information to form a belief as to the truth of and on that basis denies
27   the allegations contained therein.
28

     C04 02951 JW EAI                              -5-                      ANSWER OF KENT TRIBBLE
         Case 5:04-cv-02951-JW Document 23 Filed 10/25/04 Page 6 of 8




 1           34. Answering the thirty-fourth paragraph of the Complaint, the Defendant is without
 2   sufficient knowledge or information to form a belief as to the truth of and on that basis denies
 3   the allegations contained therein.
 4                                   AFFIRMATIVE DEFENSES
 5           1.     As a first affirmative defense to each and every allegation and every Cause of
 6   Action set forth in the Complaint, the Defendant alleges that those causes of action fail to state
 7   any claim upon which relief can be granted.
 8           2.     As a second affirmative defense to Plaintiff’s Complaint, Defendant alleges that
 9   Plaintiff’s claims are barred by the applicable statutes of limitation.
10           3.     As a third affirmative defense to Plaintiff’s Complaint, Defendant alleges that
11   Plaintiff was negligent and careless in and about matters and events set for th in the Complaint.
12   Her negligence proximately contributed to her alleged injuries and damages. Any jury verdict
13   in her favor that may be rendered in this case, therefore, must be reduced by the percentage
14   that their negligence contributed to any of their damages or injuries.
15           4.     As a fourth affirmative defense to Plaintiff’s Causes of Action in the Complaint,
16   the Defendant alleges that they have qualified immunity from liability for matters set for th in
17   the Complaint. (Harlow v. Fitzgerald [1982] 457 U. S. 800. )
18           5.     As a fifth affirmative defense to Plaintiff’s Causes of Action in her Complaint,
19   the Defendant alleges that any harm which came to Plaintiff was a direct and proximate cause
20   of her own actions.
21           6.     As a sixth affirmative defense to Plaintiff’s Causes of Action in the Complaint,
22   the Defendant alleges that any of Plaintiff’s alleged damages or injuries were aggravated by
23   her failure to use reasonable diligence to mitigate them.
24           7.     As a seventh affirmative defense to Plaintiff’s Causes of Action in the
25   Complaint, the Defendant alleges that any of Plaintiff’s damages or injuries were proximately
26   caused by the negligence of other per sons, firms, corporations or entities, for whom the
27   defendants are not r esponsible. Should Plaintiff be entitled to recover under the Complaint,
28

     C04 02951 JW EAI                               -6-                        ANSWER OF KENT TRIBBLE
         Case 5:04-cv-02951-JW Document 23 Filed 10/25/04 Page 7 of 8




 1   her recovery should be reduced in proportion to the negligence of such other per sons, firms,
 2   corporations or entities.
 3             8.     As a eighth affirmative defense to Plaintiff’s Causes of Action in the Complaint,
 4   Defendant alleges they were acting in their official capacities at all times relevant to this
 5   action, and any alleged actions were made in good faith, without malice, or were performed
 6   with a reasonable belief that their actions were authorized by and in accord with existing law
 7   and authority. Act Up!/ Por tland v. Bagley, 988 F . 2d 868, 871 (9 th Cir. 1993); Romero v.
 8   Kitsap C ounty, 931 F . 2d 624, 627 (9 th Cir. 1991).
 9             9. As a ninth affirmative defense to Plaintiff’s C auses of Action in the Complaint,
10   Defendant alleges that his actions were privileged as a matter of law. Consequently, no
11   liability can be cast upon them in their individual capacities.
12             10. As a tenth affirmative defense to the Plaintiff’s Causes of Action in the Complaint,
13   Defendant alleges that to the extent Plaintiff attempts to allege state claims, these claims are
14   barred pursuant to California Government Code Sections 911.2, 911.4, 945.4, 946.6, 950.2,
15   950.6, 815.2, 815.6, 818.2, 818.8, 820, 820.2, 820.4, 820.8, 821, 821.6, 822.2, 844.6, 845, 845.2,
16   845.6, 846, 855, 855.8, 856 and 856.4. Said sections are pleaded as though fully set forth
17   herein.
18                                     PRAYER FOR JUDGMENT
19             The Defendant prays for judgment as follows:
20             1.     That Plaintiff takes nothing by her action;
21             2.     That the Defendant be awarded the costs of defending this lawsuit;
22             3.     Defendant have a judgment against the Plaintiff; and,
23             4.     For such other and further relief as this Court deems proper.
24
25   DATED:           October 25, 2004                   ______________________________
                                                         ALESIA JONES-M ARTIN
26                                                       Assistant City Attorney
                                                         Attorney for Defendant
27                                                       KENT TRIBBLE
28

     C04 02951 JW EAI                                -7-                      ANSWER OF KENT TRIBBLE
         Case 5:04-cv-02951-JW Document 23 Filed 10/25/04 Page 8 of 8




 1
 2   ANSWER


 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     C04 02951 JW EAI                      -8-                  ANSWER OF KENT TRIBBLE
